               Case 18-14164-KHK                               Doc 17           Filed 03/17/19 Entered 03/17/19 20:26:56                                    Desc Main
                                                                               Document      Page 1 of 12
 Fill in this information to identify your case and this filing:

 Debtor 1                    Alan B Stone
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF VIRGINIA

 Case number            18-14164                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        123 Wateredge Lane                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Fredericksburg                    VA        22406-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $542,100.00                $542,100.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Stafford                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Stafford County assessment value


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $542,100.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
             Case 18-14164-KHK                        Doc 17           Filed 03/17/19 Entered 03/17/19 20:26:56                                       Desc Main
                                                                      Document      Page 2 of 12
 Debtor 1        Alan B Stone                                                                                       Case number (if known)       18-14164
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Harley Davidson                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      CVO Electraglide                                Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  12,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA average trade-in value
                                                                     Check if this is community property                              $19,860.00                 $19,860.00
                                                                     (see instructions)



  3.2    Make:       Mercedes-Benz                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      230                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  65,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA average trade-in value
                                                                     Check if this is community property                                $3,550.00                  $3,550.00
                                                                     (see instructions)



  3.3    Make:       Mercedes-Benz                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      2004                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       SLK 32 AMG                                      Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  70,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA average trade-in value
                                                                     Check if this is community property                                $3,000.00                  $3,000.00
                                                                     (see instructions)



  3.4    Make:       Mercedes-Benz                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      R 350                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  85,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA average trade-in value
                                                                     Check if this is community property                                $7,175.00                  $7,175.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $33,585.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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           Case 18-14164-KHK                          Doc 17          Filed 03/17/19 Entered 03/17/19 20:26:56                      Desc Main
                                                                     Document      Page 3 of 12
 Debtor 1       Alan B Stone                                                                        Case number (if known)     18-14164
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Kitchen and dining room: table; 8 chairs; clothes washer; dishes
                                    and untensil; miscellaneous.                                                                                 $2,700.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Japanese prints
                                    Location: 123 Wateredge Lane, Fredericksburg VA 22406                                                          $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Costume jewelry
                                    Location: 123 Wateredge Lane, Fredericksburg VA 22406                                                          $200.00


                                    Wedding/engagement jewlry
                                    Location: 123 Wateredge Lane, Fredericksburg VA 22406                                                        $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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 Debtor 1          Alan B Stone                                                                                                     Case number (if known)   18-14164


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                  $4,400.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  USAA USAA Federal Saving Banks account
                                              17.1.       Checking                                number account number x3274                                                  $500.00


                                                                                                  USAA Federal Saving Banks account number
                                              17.2.       Checking                                x5865                                                                            $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                                                                                  U.S. Army                                                                        $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

Official Form 106A/B                                                                       Schedule A/B: Property                                                                  page 4
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 Debtor 1        Alan B Stone                                                                            Case number (if known)      18-14164

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         2018 Federal Income Tax Refund                        Federal                               $9,109.47




                                                         2018 State Income Tax Refund                          State                                 $5,399.60


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..




Official Form 106A/B                                                   Schedule A/B: Property                                                              page 5
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           Case 18-14164-KHK                              Doc 17           Filed 03/17/19 Entered 03/17/19 20:26:56                                               Desc Main
                                                                          Document      Page 6 of 12
 Debtor 1        Alan B Stone                                                                                                    Case number (if known)        18-14164
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $15,009.07


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                             Any interest in property, (including but not limited to tax refunds,
                                             lottery winnings, garnished wages, garnished accounts, preferences,
                                             personal injury proceeds), that the Debtor(s) acquires or becomes
                                             entitled to acquire within 180 days of the filing of his/her petition in
                                             bankruptcy by bequest, devise or inheritance; as a result of a property
                                             settlement agreement; or of a divorce decree; or as a beneficiary of a
                                             life insurance policy or of a death benefit plan.                                                                                       $1.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $1.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
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            Case 18-14164-KHK                                Doc 17            Filed 03/17/19 Entered 03/17/19 20:26:56                                              Desc Main
                                                                              Document      Page 7 of 12
 Debtor 1         Alan B Stone                                                                                                          Case number (if known)   18-14164

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $542,100.00
 56. Part 2: Total vehicles, line 5                                                                           $33,585.00
 57. Part 3: Total personal and household items, line 15                                                       $4,400.00
 58. Part 4: Total financial assets, line 36                                                                  $15,009.07
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $1.00

 62. Total personal property. Add lines 56 through 61...                                                      $52,995.07              Copy personal property total              $52,995.07

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $595,095.07




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
              Case 18-14164-KHK                       Doc 17          Filed 03/17/19 Entered 03/17/19 20:26:56                             Desc Main
                                                                     Document      Page 8 of 12
 Fill in this information to identify your case:

 Debtor 1                Alan B Stone
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           18-14164
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2008 Mercedes-Benz R 350 85,000                                 $7,175.00                                  $6,000.00     Va. Code Ann. § 34-26(8)
      miles
      NADA average trade-in value                                                          100% of fair market value, up to
      Line from Schedule A/B: 3.4                                                          any applicable statutory limit

      Kitchen and dining room: table; 8                               $2,700.00                                  $2,700.00     Va. Code Ann. § 34-26(4a)
      chairs; clothes washer; dishes and
      untensil; miscellaneous.                                                             100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      Wedding/engagement jewlry                                       $1,000.00                                  $1,000.00     Va. Code Ann. § 34-26(1a)
      Location: 123 Wateredge Lane,
      Fredericksburg VA 22406                                                              100% of fair market value, up to
      Line from Schedule A/B: 12.2                                                         any applicable statutory limit

      U.S. Army                                                             $0.00                                     $0.00    Va. Code Ann. § 34-34
      Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Federal: 2018 Federal Income Tax                                $9,109.47                                  $9,109.47     11 U.S.C. § 522(d)(5)
      Refund
      Line from Schedule A/B: 28.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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            Case 18-14164-KHK                         Doc 17          Filed 03/17/19 Entered 03/17/19 20:26:56                                Desc Main
                                                                     Document      Page 9 of 12
 Debtor 1    Alan B Stone                                                                                Case number (if known)     18-14164
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     State: 2018 State Income Tax Refund                              $5,399.60                                  $3,990.53        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 28.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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              Case 18-14164-KHK                       Doc 17          Filed 03/17/19 Entered 03/17/19 20:26:56                         Desc Main
                                                                     Document     Page 10 of 12




 Fill in this information to identify your case:

 Debtor 1                    Alan B Stone
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number              18-14164
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Alan B Stone                                                          X
              Alan B Stone                                                              Signature of Debtor 2
              Signature of Debtor 1

              Date       March 16, 2019                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                        BB&T
                        IN CARE OF BANKRUPTCY DEPT
                        PO BOX 1847
                        WILSON, NC 27894


                        BK OF AMER
                        PO BOX 982238
                        EL PASO, TX 79998


                        CITICARDS
                        CITICORP CREDIT SERVICES/ATTN: CENTRALIZ
                        PO BOX 790040
                        SAINT LOUIS, MO 63179


                        COMENITYBANK/LEGNDPINE
                        PO BOX 182789
                        COLUMBUS, OH 43218


                        HARLEY DAVIDSON FINANCIAL
                        ATTN: BANKRUPTCY
                        PO BOX 22048
                        CARSON CITY, NV 89721


                        LENDINGCLUB
                        ATTN: BANKRUPTCY
                        71 STEVENSON ST, STE 1000
                        SAN FRANCISCO, CA 94105


                        PRIMEWAY FCU
                        ATTN: BANKRUPTCY
                        PO BOX 53088
                        HOUSTON, TX 77052


                        WELLS FARGO BANK
                        ATTN: BANKRUPTCY DEPT
                        PO BOX 6429
                        GREENVILLE, SC 29606


                        WELLS FARGO JEWELRY ADVANTAGE
                        ATTN: BANKRUPTCY
                        PO BOX 10438
                        DES MOINES, IA 50306
           Case 18-14164-KHK                          Doc 17          Filed 03/17/19 Entered 03/17/19 20:26:56                  Desc Main
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                                                               United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Alan B Stone                                                                                       Case No.    18-14164
                                                                                    Debtor(s)                  Chapter     7



                                                   AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
                Involuntary/Voluntary Petition [Specify reason for amendment:            ]
                Check if applicable:     Soc. Sec. No. amended. [If applicable: An original, signed Official Form 121 was
                mailed/hand-delivered to the Clerk's office on             .*]
                Summary of Your Assets and Liabilities (and Certain Statistical Information - Individuals Only)
                Declaration (Individuals - Form 106Dec) (Non-Individuals - Form 202)
                Schedule A/B – Property
                Schedule C – The Property You Claim as Exempt
                Schedule D – Creditors Who Hold Claims Secured by Property (See LBR 1009-1)
                Schedule E/F – Creditors Who Have Unsecured Claims (See LBR 1009-1)
                Schedule E/F Creditors Who Have Unsecured Claims (See LBR 1009-1)
                 ($31.00 fee required if adding or deleting pre-petition creditors, changing amounts owed or classification of
                debt.) Check applicable statement(s):
                        Creditor(s) added                            Creditor(s) deleted
                        Change in amounts owed or classification of debt
                        No pre-petition creditors added/deleted, or amounts owed or classification of debt changed. [Docket:
                        Amended Schedule(s) and/or Statement(s), List(s)-NO FEE)
                        Post-petition creditors added (Schedule of Unpaid Debts)
                REMINDER: Conversion of Chapter 13 to Chapter 7 - only file Schedule of Unpaid Debts.
                Schedule G – Executory Contracts and Unexpired Leases
                Schedule H – Codebtors
                Schedule I – Your Income
                Schedule J – Your Expenses

[NOTE: The form “NOTICE TO CREDITOR(S) (RE AMENDMENT)” is still required when adding or deleting creditors.
*Amendment of debtor(s) Social Security Number requires that this cover sheet together with a completed Official Form 121 –
Statement About Your Social Security Numbers be electronically filed or submitted to the Clerk’s Office for “restricted”
entry of the amended Social Security Number into the case record.]
             Statement of Financial Affairs
             Statement of Intention for Individuals Filing Under Chapter 7
             Chapter 11 List of Equity Security Holders
             Chapter 11: The List of Creditors Who Have the 20 Largest Unsecured Claims Against You Who Are Not Insiders
             Attorney’s Disclosure of Compensation
             Other:
                                  NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the United States Trustee, the trustee in this case, and to any and all entities
affected by the amendment as follows: Attached mailing matrix .
 Date: March 16, 2019
                                                                         /s/ Martin C. Conway
                                                                         Martin C. Conway 34334
                                                                         Attorney for Debtor(s) [or Pro Se Debtor(s)]
                                                                         State Bar No.:    34334 VA
                                                                         Mailing Address: Conway Law Group, PC
                                                                                           12934 Harbor Drive, Suite 107
                                                                                           Woodbridge, VA 22192
                                                                         Telephone No.:    855-848-3011



[amendcs ver. 12/16]

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